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            IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
                     ATLANTA DIVISION


UNITED STATES OF AMERICA
                                        CIVIL ACTION FILE
v.
                                        NUMBER 1:14-cr-227-TCB
GARY EDWIN SHARP, II, et al.,

     Defendants.


                               ORDER

     This case comes before the Court on Magistrate Judge Vineyard’s

Final Report and Recommendation (the “R&R”) [82], which recommends

denying Defendant Gary Edwin Sharp, II’s motion to suppress evidence

[55]. Sharp has filed objections to the R&R [86].

     The motion to suppress, the R&R, and Sharp’s objections to the

R&R are substantially identical to those filed in connection with

another criminal case pending before the undersigned in which Sharp is

a defendant. See United States v. Sharp, No. 1:14-cr-229-TCB (N.D. Ga.

filed June 17, 2014). In that case, the Court entered an Order [80]
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adopting the R&R over Sharp’s objections and denying the motion to

suppress.

     For all the reasons set forth in the Court’s Order adopting the

R&R in case number 1:14-cr-229, the Court adopts as its Order the

R&R [82] in this case, overrules Sharp’s objections [86], and denies

Sharp’s motion to suppress evidence [55].

     IT IS SO ORDERED this 4th day of August, 2015.




                                  ____________________________________
                                  Timothy C. Batten, Sr.
                                  United States District Judge




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